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                             IN THE UNITED STATES DISTRICT COURT 
                                 SOUTHERN DISTRICT OF IOWA 
                                       CENTRAL DIVISION 
                                                
                                                
    THOMAS M. HORRAS,                                 
                                                         CASE NO. _________________ 
                 Plaintiff,                                              
    vs.                                                                  
                                                                 COMPLAINT 
    AMERICAN CAPITAL STRATEGIES, LTD.,                                and 
                                                                JURY DEMAND 
                 Defendant.                     
                                                
                                                
                                                
         COMES NOW, Mr. Thomas M. Horras, by and through the undersigned, and for his cause of 

action states as follows: 

                                                        PARTIES 

    1. Plaintiff, Mr. Thomas M. Horras, is an individual, citizen of the State of Iowa. 

    2. Defendant,  American  Capital  Strategies,  LTD.  (hereinafter  "ACS")  is  a  private  equity  fund  with 

principle offices in a state other than Iowa. 

                                                    JURISDICTION 

    3. This Court  has jurisdiction  pursuant to  28 U.S.C. §1332.  The amount  in  controversy is greater 

than  $75,000.    Plaintiff  is  a  citizen  of  the  State  of  Iowa  and  Defendant  is  a  corporation,  incorporated 

under  the  laws  of  a  state  other  than  Iowa,  having  its  principal  place  of  business  in  a  state  other  than 

Iowa. 

    4. Venue is proper in this district under 28 U.S.C. § 1391. 

                                                    BACKGROUND 

    5. Mr.  Horras  built  a  successful  home  health  care  business  in  the  State  of  Iowa  named  Hawkeye 

Health Services, Inc. 




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    6. Mr. Horras agreed to merge his business with other home health care providers in other states 

to form a Delaware corporation named Auxi, Inc. 

    7. Mr. Horras was issued 417,734 shares of Auxi, Inc.   

    8. Upon information and belief, sometime in either 2000 or 2001, the defendant put monies into 

Auxi, Inc. and took an equity position in the company. 

    9. The defendant acquired control of Auxi, Inc. by acquiring seats on the Board of Directors. 

    10. In May, 2007, Auxi, Inc. shares were sold to Harden Health Care LLC (hereinafter "HHC") out of 

Austin, Texas. 

    11. Mr. Horras was not informed of the sale. 

    12. Mr. Horras was not compensated for his shares by either ACS nor Auxi, Inc. 

                                                  COUNT I 
                                          BREACH OF FIDUCIARY DUTY 

    13. Plaintiff repleads paragraphs 1 ‐ 12 as if fully set forth herein. 

    14. Upon information and belief, ACS controlled Auxi Inc. at the time of its sale in 2007. 

    15. Upon information and belief, ACS, through its Auxi Board Members, initiated the sale of Auxi to 

HHC. 

    16. Upon information and belief, ACS was paid for its shares of Auxi in 2007. 

    17. Upon  information  and  belief,  ACS  breached  its  fiduciary  responsibility  to  plaintiff  by  failing  to 

notify him of corporate activity effecting his shares. 

    18. Neither ACS nor Auxi has paid plaintiff for his shares. 

    19. Upon information and belief, Auxi shares sold for over $20.00 per share. 

    20. Plaintiff was damaged by the failure to pay him for his shares. 

        WHEREFORE, plaintiff prays for a judgment against the defendant for compensatory damages, 

punitive damages, interest at the legal rate from the legal date, costs, and such other and further relief 

as the Court may deem just and equitable in this cause. 

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                                                COUNT II 
                                           BREACH OF CONTRACT 

    21. Plaintiff repleads paragraphs 1 ‐ 12 as if fully set forth herein. 

    22. Upon information and belief, ACS controlled Auxi Inc. through its Board Members. 

    23. Upon information and belief, ACS and/or Auxi represented all shares of Auxi would be sold to 

HHC. 

    24. Neither ACS nor Auxi, Inc. had authority to sell the plaintiff's shares. 

    25. Plaintiff has not been compensated for his shares. 

    26. Plaintiff has been damaged by defendant's failure to compensate him for his shares. 

    27. Upon information and belief, Auxi shares were sold for over $20.00 per share. 

        WHEREFORE, plaintiff prays for a judgment against the defendant for compensatory damages, 

interest at the legal rate from the legal date, costs, and such other and further relief as the Court may 

deem just and equitable in this cause. 

                                               DEMAND FOR JURY 

        COMES NOW the Plaintiff in the above cause of action and requests trial by jury of all issues in 

this cause. 

                                                   Respectfully submitted, 
                                                   Thomas M. Horras, Plaintiff 
 
 
 
                                           By:     /s/ Gail E. Boliver      
                                                   Gail E. Boliver 000475 
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